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                                                                                        Dec. 17-18, 2020




 Time           Name                                                        Message
11:58:21 NobleLead
      PM
(Dec. 17)




12:08:39 NobleLead                     As I said on
      AM                               @04692f584bb54c0b9f42af34865a1d6b
(Dec. 18)                              [@WarboysTV]

                                       The FBI is currently the investigating a
                                       supposed “hate crime” perpetrated by the
                                       ProudBoys. They’re even offering a reward.

                                       I’m here to tell you that there was no hate
                                       crime committed. The only hate there is in
                                       my heart is for communism and an
                                       authoritarian government. BLM is a Marxist
                                       movement. It isn’t about the color of
                                       someone’s skin.

                                       Against the wishes of my attorney I am here
                                       today to admit that I am the person
                                       responsible for the burning of this sign. And I
                                       am not ashamed of what I did because I
                                       didn’t do it out of hate...I did it out of love.
                                       Love for a country that has given my family
                                       SO MUCH. The burning of this banner wasn’t
                                       about race religion or political ideology it was
                                       about a racist movement that has terrorized
                                       the citizens of this country. I will not standby
                                       and watch them burn another city.

                                       So let me make this simple. I did it.

                                       Come get me if you feel like what I did was
                                       wrong. We’ll let the public decide.

                                       Forever PROUD.

                                       -Enrique
